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 5

 6                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 7                                          AT SEATTLE

 8   UNITED SPECIALTY INSURANCE                           NO.
     COMPANY, a Delaware corporation,
 9                                                        COMPLAINT FOR DECLARATORY
                     Plaintiff,                           JUDGMENT
10
             v.                                           28 U.S.C. §1332
11
     TONQUIN, INC., dba JOKER PUB & GRILL,
12   SEAN KELLY, a single person, JOSEPH
     HOLLENBECK and KATIE HOLLENBECK,
13   individually and as husband and wife and the
14   marital community composed thereof, and as
     Co-Guardians for C. H., C. H. and H. H., their
15   minor children,

16                   Defendants.
17

18                                             I. PARTIES
19           1.      Plaintiff United Specialty Insurance Company (“USIC”) is a Delaware
20   corporation with its principal place of business in Texas.
21           2.      Defendant Tonquin, Inc., dba Joker Pub & Grill (“Tonquin”) is a Washington
22   corporation with its principal place of business in the State of Washington, and holds itself out
23   to the public and transacts business in King County, Washington as a sports bar that serves
24   alcohol and food to the public.
25



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 1           3.      Upon information and belief, defendant Sean Kelly is and was at all times

 2   relevant over the age of 18 and a resident of Pierce County, Washington.

 3           4.      Upon information and belief, defendants Joseph Hollenbeck, Katie Hollenbeck,

 4   C. H., C. H., and H. H. (collectively, “Claimants”) are and were at all times relevant residents

 5   of King County, Washington.

 6                                 II. VENUE AND JURISDICTION
 7           5.      The U.S. District Court in the Western District of Washington has jurisdiction

 8   pursuant to 28 U.S.C. §1332. There is complete diversity between the parties, and the amount

 9   in controversy exceeds $75,000.00, exclusive of costs and interest.

10           6.      Venue is proper in this District pursuant to 28 U.S.C. §1391(b) as a substantial

11   part of the events giving rise to the claim occurred in King County, Washington.

12                                             III. FACTS
13   A.      The Insurance Policy

14           7.      USIC issued Commercial Lines Policy No. USA 4105349 to Tonquin with
15   effective dates of October 23, 2015 to October 23, 2016 (“Policy”). A copy of the Policy is
16   attached as Exhibit 1.
17           8.      The Policy contains Commercial General Liability Form G 00 01 12 07, which
18   provides in relevant part:
19                   Various provisions in this policy restrict coverage. Read the entire
                     policy carefully to determine rights, duties and what is and is not
20                   covered.
21                   Throughout this policy the words “you” and “your” refer to the
                     Named Insured shown in the Declarations, and any other person or
22                   organization qualifying as a Named Insured under this policy. The
                     words “we”, “us” and “our” refer to the company providing this
23                   insurance.
24                   The word “insured” means any person or organization qualifying
                     as such under Section II— Who Is An Insured.
25



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 1                   Other words and phrases that appear in quotation marks have
                     special meaning. Refer to Section V— Definitions.
 2
             9.      The Policy contains Coverage A, Coverage B, and Coverage C.
 3
             10.     Coverage A to the Policy provides, in relevant part, as follows:
 4
                     SECTION I — COVERAGES
 5
                     COVERAGE A BODILY                 INJURY      AND     PROPERTY
 6                   DAMAGE LIABILITY
 7                   1. Insuring Agreement

 8                      a. We will pay those sums that the insured becomes legally
                           obligated to pay as damages because of “bodily injury” or
 9                         “property damage” to which this insurance applies. We
                           will have the right and duty to defend the insured against
10                         any “suit” seeking those damages. However, we will have
                           no duty to defend the insured against any “suit” seeking
11                         damages for “bodily injury” or “property damage” to which
                           this insurance does not apply. We may, at our discretion,
12                         investigate any "occurrence" and settle any claim or "suit'
                           that may result. But:
13
                            (1)   The amount we will pay for damages is limited as
14                                described in Section III — Limits Of Insurance; and

15                          (2)   Our right and duty to defend ends when we have used
                                  up the applicable limit of insurance in the payment of
16                                judgments or settlements under Coverages A or B or
                                  medical expenses under Coverage C.
17
                            No other obligation or liability to pay sums or perform acts
18                          or services is covered unless explicitly provided for under
                            Supplementary Payments — Coverages A and B.
19
                        b. This insurance applies to "bodily injury" and "property
20                         damage" only if:

21                          (1)   The "bodily injury" or "property damage" is caused
                                  by an “occurrence" that takes place in the "coverage
22                                territory";

23                          (2)   The "bodily injury" or "property damage" occurs
                                  during the policy period; and
24                                                 ***
25



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 1                   2. Exclusions
 2                      This insurance does not apply to:

 3                      a. Expected Or Intended Injury.
 4                         "Bodily injury" or "property damage" expected or intended
                           from the standpoint of the insured. This exclusion does not
 5                         apply to "bodily injury" resulting from the use of reasonable
                           force to protect persons or property.
 6
                                                  ***
 7
                        c. Liquor Liability
 8
                           “Bodily injury” or “property damage” for which any insured
 9                         may be held liable by reason of:

10                         (1)   Causing or contributing to the intoxication of any
                                 person;
11
                           (2)   The furnishing of alcoholic beverages to a person
12                               under the legal drinking age or under the influence of
                                 alcohol; or
13
                           (3)   Any statute, ordinance or regulation relating to the
14                               sale, gift, distribution or use of alcoholic beverages.

15                         This exclusion applies only if you are in the business of
                           manufacturing, distributing, selling, serving or furnishing
16                         alcoholic beverages.

17           11.     The Policy contains endorsement form CGL 1701 0510 that includes an

18   amended version of the above-referenced Liquor Liability exclusion as follows:
19                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE
                                      READ IT CAREFULLY.
20
                           SPECIAL EXCLUSIONS AND LIMITATIONS
21                                        ENDORSEMENT
                         This endorsement modifies insurance provided under the
22                                           following:
                       COMMERCIAL GENERAL LIABILITY COVERAGE PART
23
                                                      ***
24

25



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 1                   B. It is agreed that the following exclusions from Section I
                        Coverages are changed as shown below:
 2                      1. Liquor Liability
 3                          Exclusion c., Liquor Liability of Section I Coverages,
                            Coverage A 2. Exclusions, is deleted and entirely replaced
 4                          with the following:

 5                          c. Liquor Liability
                               “Bodily injury” or “property damage” for which any
 6                             insured may be held liable by reason of:
                                 a. Causing or contributing to the intoxication of any
 7                                   person; or
 8                               b. The furnishing of alcoholic beverages to a person
                                     under the legal drinking age or under the
 9                                   influence of alcohol; or
                                 c. Any statute, ordinance or regulation relating to the
10                                   sale, gift, distribution or use of alcoholic
                                     beverages.
11
                                This exclusion applies only if you:
12                               a. Are in the business of manufacturing, distributing,
                                     selling, serving or furnishing alcoholic beverages;
13                                   or
14                               b. Sell, otherwise provide, or make available
                                      alcoholic beverages as a regular part of your
15                                    business or operations otherwise covered by this
                                      policy.
16

17           12.     Coverage B to the Policy provides, in relevant part, as follows:

18                   COVERAGE B PERSONAL AND ADVERTISING
19                   INJURY LIABILITY
                     1. Insuring Agreement
20                      a. We will pay those sums that the insured becomes legally
                           obligated to pay as damages because of "personal and
21                         advertising injury" to which this insurance applies. We
                           will have the right and duty to defend the insured against
22                         any "suit" seeking those damages. However, we will have
                           no duty to defend the insured against any "suit" seeking
23                         damages for "personal and advertising injury" to which this
                           insurance does not apply. We may, at our discretion,
24                         investigate any offense and settle any claim or "suit" that
                           may result. But:
25



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 1                         (1)   The amount we will pay for damages is limited as
                                 described in Section III — Limits Of Insurance; and
 2
                           (2)   Our right and duty to defend end when we have used
 3                               up the applicable limit of insurance in the payment of
                                 judgments or settlements under Coverages A or B or
 4                               medical expenses under Coverage C.

 5                         No other obligation or liability to pay sums or perform acts
                           or services is covered unless explicitly provided for under
 6                         Supplementary Payments — Coverages A and B.

 7                      b. This insurance applies to "personal and advertising injury"
                           caused by an offense arising out of your business but only
 8                         if the offense was committed in the "coverage territory”
                           during the policy period.
 9

10           13.     The Policy’s endorsement form CGL 1701 0510 modifies Coverage A and

11   Coverage B as follows:

12                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE
                                     READ IT CAREFULLY.
13
                             SPECIAL EXCLUSIONS AND LIMITATIONS
14                                      ENDORSEMENT
                     This endorsement modifies insurance provided under the
15                   following:
                       COMMERCIAL GENERAL LABILITY COVERAGE PART
16
                     A. In consideration of the premium charged this policy has
17                      been issued subject to the following exclusions being added
                        to Coverages A & B:
18                      This insurance does not apply to:
19                                                 ***

20                      5. Punitive, Exemplary, Treble Damages or Multipliers of
                           Attorneys' Fees
21                         Claims or demands for payment of punitive, exemplary or
                           treble damages whether arising from the acts of any insured
22                         or by anyone else for whom or which any insured or
                           additional insured is legally liable; including any multiplier
23                         of attorney's fees statutorily awarded to the prevailing
                           party.
24

25



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 1           14.     Coverage C to the Policy provides, in relevant part, as follows:

 2                   COVERAGE C MEDICAL PAYMENTS
 3                   1. Insuring Agreement
                         a. We will pay medical expenses as described below for
 4                          “bodily injury” caused by an accident:
                            (1) On premises you own or rent;
 5
                            (2) On ways next to premises you own or rent; or
 6                          (3) Because of your operations;
 7                          provided that:
                                 (a) The accident takes place in the "coverage
 8                                     territory" and during the policy period;
 9                               (b) The expenses are incurred and reported to us
                                       within one year of the date of the accident; and
10                               (c) The injured person submits to examination, at
                                       our expense, by physicians of our choice as
11                                     often as we reasonably require.
12                       b. We will make these payments regardless of fault. These
                            payments will not exceed the applicable limit of insurance.
13                          We will pay reasonable expenses for:
                            (1) First aid administered at the time of an accident;
14
                            (2) Necessary medical, surgical, x-ray and dental
15                               services, including prosthetic devices; and
                            (3) Necessary ambulance, hospital, professional nursing
16                               and funeral services.
17                   2. Exclusions
                        We will not pay expenses for “bodily injury”:
18
                                                  ***
19                      g. Coverage A Exclusions
                           Excluded under Coverage A.
20

21           15.     The Policy includes Section V – Definitions that contains the following relevant

22   definitions:

23                                  SECTION V — DEFINITIONS
                                                 ***
24                   3. “Bodily injury” means bodily injury, sickness or disease
                        sustained by a person, including death, resulting from any of
25                      these at any time.
                                                 ***

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 1           16.     In addition, endorsement form CGL 1701 0510 modifies relevant Policy

 2   definitions as follows:

 3                   3. Item 13. “Occurrence” is deleted in its entirety and
                        replaced with the following:
 4
                        13.    “Occurrence” means an accident, including continuous or
 5                             repeated exposure to substantially the same general
                               harmful conditions. All “bodily injury” or “property
 6                             damage” arising out of an “occurrence” or series of
                               related “occurrences” is deemed to take place at the time
 7
                               of the first such damage or injury even though the nature
 8                             and extent of such damage or injury may change; and
                               even though the damage may be continuous, progressive,
 9                             cumulative, changing or evolving; and even though the
                               “occurrence” causing such “bodily injury” or “property
10                             damage” may be continuous or repeated exposure to
                               substantially the same general harmful conditions.
11
                                                    ***
12                   4. Item 14. "Personal and advertising injury" is deleted in its
                        entirety and replaced with the following:
13
                        14. “Personal and advertising injury” means injury, including
14                           consequential “bodily injury”, arising out of one or more
                             of the following offenses:
15                           a.    False arrest, detention or imprisonment;
16                           b.    Malicious prosecution;
                             c.    The wrongful eviction from, wrongful entry into, or
17                                 invasion of the right of private occupancy of a
                                   room, dwelling or premises that a person occupies,
18                                 committed by or on behalf of its owner, landlord or
                                   lessor; or
19
                             d.    Oral or written publication, in any manner, of
20                                 material that slanders or libels a person or
                                   organization or disparages a person's or
21                                 organization's goods, products or services;
                                                   ***
22                   5. Item 17. “Property damage” is deleted in its entirety and
                        replaced with the following:
23
                        17. “Property damage” means:
24                           a.   Physical injury to tangible property, including all
                                  resulting loss of use of that property. All such loss
25                                of use shall be deemed to occur at the time of the
                                  physical injury that caused it; or

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 1                             b.
                               Loss of use of tangible property that is not
                               physically injured. All such loss of use shall be
 2                             deemed to occur at the time of the “occurrence” that
                               caused it.
 3                                            ***
 4   B.      The Underlying Lawsuit

 5           17.      On July 9, 2018, Claimants filed a lawsuit against Kelly and Tonquin in King

 6   County Superior Court, Case No. 18-2-15545-2 (“Underlying Lawsuit”).             A copy of the

 7   complaint in the Underlying Lawsuit is attached as Exhibit 2.

 8           18.      Claimants allege they were injured when a vehicle driven by Kelly struck

 9   Claimants’ vehicle on November 1, 2015.

10           19.      Claimants allege that on November 1, 2015, prior to the collision, Kelly had

11   consumed alcoholic beverages for several hours at Tonquin’s bar.

12           20.      Claimants allege that Tonquin continued to serve alcohol to Kelly after he

13   displayed obvious signs of intoxication.

14           21.      Claimants allege that Kelly subsequently left Tonquin’s bar and proceeded to

15   drive his car.

16           22.      Claimants further allege that Kelly was legally under the influence of alcohol

17   and his blood alcohol content was over Washington's legal limit of .08 when he left Tonquin’s

18   bar.

19           23.      According to the Underlying Lawsuit, Kelly did not consume any alcoholic

20   beverages from the time he left Tonquin’s bar until the collision with Claimants.

21           24.      24.    Claimants allege Tonquin “knew or should have known that Kelly was

22   apparently under the influence of alcohol” before he left the bar.

23           25.      Claimants allege that Tonquin breached its common law duty and violated

24   RCW 66.44.200 by selling or giving alcoholic beverages to Kelly when he was apparently

25   under the influence of alcohol and that none of Tonquin’s employees and/or agents attempted



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 1   to cut off or refused service to Kelly, enquired as to Kelly’s sobriety, or warned Kelly that he

 2   was drinking too much and appeared intoxicated.

 3            26.      The complaint in the Underlying Lawsuit contains a cause of action for

 4   negligence against Tonquin for serving alcoholic beverages to Kelly while he was apparently

 5   under the influence of alcohol in violation of RCW 66.44.200.

 6            27.      On or around July 26, 2018, USIC agreed to defend Tonquin under a reservation

 7   of rights to withdraw its defense. The July 26, 2018 reservation of rights letter is attached as

 8   Exhibit 3.
 9                           IV. FIRST CAUSE OF ACTION:
                  DECLARATORY JUDGMENT - LIQUOR LIABILITY EXCLUSION
10

11            28.      USIC realleges each of the allegations contained in Paragraphs 1 through 27 as

12   if fully set forth herein.

13            29.      The Policy’s CGL Form CG 00 01 12 07, SECTION I – COVERAGE A,

14   provides that USIC will pay those sums that Tonquin becomes legally obligated to pay as

15   damages because of “bodily injury” or “property damage” to which this insurance applies.

16            30.      Coverage A provides that USIC has a duty to defend Tonquin against any “suit”

17   seeking damages because of “bodily injury” or “property damage” but has no duty to defend

18   Tonquin against any “suit” to which this insurance does not apply.

19            31.      The Policy contains a Liquor Liability exclusion, which is amended by an

20   endorsement, Form CGL 1701 0510, entitled SPECIAL EXCLUSIONS AND LIMITATIONS

21   ENDORSEMENT.

22            32.      The Liquor Liability exclusion, per the endorsement, applies to any insured that

23   is “in the business of manufacturing, distributing, selling, serving or furnishing alcoholic

24   beverages” or that “[s]ell[s], otherwise provide[s], or make[s] available alcoholic beverages as

25   a regular part of [its] business or operations.”



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 1           33.      The Liquor Liability exclusion, per the endorsement, excludes “bodily injury”

 2   or “property damage” for which the insured may be liable by reason of “[c]ausing or

 3   contributing to the intoxication of any person.”

 4           34.      The Liquor Liability exclusion, per the endorsement, excludes “bodily injury”

 5   or “property damage” for which the insured may be liable by reason of a statute “relating to the

 6   sale, gift, distribution or use of alcoholic beverages.”

 7           35.      Coverage C incorporates the Liquor Liability exclusion contained in Coverage

 8   A.

 9           36.      Tonquin is a business that sells, serves, and furnishes alcoholic beverages.

10           37.      Tonquin sells, provides, and makes alcoholic beverages available as a regular

11   part of its business.

12           38.      According to the Underlying Lawsuit, Kelly was intoxicated at the time he

13   crashed his vehicle into Claimants’ vehicle, causing bodily injury and property damage to

14   Claimants.

15           39.      Claimants allege that Tonquin caused or contributed to Kelly’s intoxication.

16           40.      Claimants allege Tonquin violated RCW 66.44.200 by selling or serving alcohol

17   to Kelly when he was apparently under the influence of alcohol.

18           41.      RCW 66.44.200 is a statute that relates to the sale, gift, distribution or use of
19   alcoholic beverages.

20           42.      Based on the allegations in the Underlying Lawsuit and the language of the

21   Policy, there is no coverage afforded to Tonquin for any “bodily injury” or “property damage”

22   claims by Claimants under the Policy’s Coverage A because Claimants allege that Tonquin’s

23   liability, if any, arises from a statute relating to the sale, gift, distribution or use of alcohol.

24           43.      Based on the allegations in the Underlying Lawsuit and the language of the

25   Policy, there is no coverage available to Tonquin under the Policy for any “bodily injury” or



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 1   “property damage” claims by Claimants under the Policy’s Coverage A and/or Coverage C

 2   because Claimants allege that Tonquin’s liability, if any, arises from its actions in causing or

 3   contributing to Kelly’s intoxication.

 4           44.      Accordingly, there is no coverage for Tonquin for any of the claims in the

 5   Underlying Lawsuit based on the Liquor Liability exclusion in Coverage A and/or Coverage C

 6   to the Policy.

 7           45.      As a result, USIC seeks declaratory judgment as to its duty to defend and

 8   indemnify Tonquin under the Liquor Liability exclusion in Coverage A and/or Coverage C to

 9   the Policy.

10                           V. SECOND CAUSE OF ACTION:
                   DECLARATORY JUDGMENT – “OCCURRENCE,” ACCIDENT,
11                     AND EXPECTED OR INTENDED ACT EXCLUSION
12           46.      USIC realleges each of the allegations contained in Paragraphs 1 through 45 as

13   if fully set forth herein.

14           47.      Coverage A to the Policy only provides coverage for “bodily injury” or

15   “property damage” that is caused by an “occurrence” during the policy period.

16           48.      Per the endorsement, the Policy defines “occurrence” to mean an “accident,

17   including continuous or repeated exposure to substantially the same general harmful

18   conditions.”
19           49.      Coverage C to the Policy only provides coverage for “bodily injury” caused by

20   an accident.

21           50.      Coverage A to the Policy excludes coverage for “bodily injury” or “property

22   damage” that is expected or intended from the standpoint of the insured.

23           51.      Coverage C to the Policy incorporates the above-referenced expected or

24   intended act exclusion contained in Coverage A.

25



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 1           52.      In the Underlying Lawsuit, Claimants allege that Tonquin, “through its

 2   employees and/or agents, knew or should have known that Kelly was apparently under the

 3   influence of alcohol” before he left the bar.

 4           53.      Based on the allegations in the Underlying Lawsuit and the language of the

 5   Policy, there is no coverage afforded to Tonquin for any “bodily injury” or “property damage”

 6   claims by Claimants under Coverage A because Claimants do not allege that Tonquin’s actions

 7   were caused by an “occurrence” as that term is defined in the Policy.

 8           54.      Based on the allegations in the Underlying Lawsuit and the language of the

 9   Policy, there is no coverage afforded to Tonquin for any “bodily injury” claims by Claimants

10   under Coverage C because Claimants do not allege that Tonquin’s actions were caused by an

11   accident.

12           55.      Based on the allegations in the Underlying Lawsuit and the language of the

13   Policy, there is no coverage afforded to Tonquin for any “bodily injury” or “property damage”

14   claims by Claimants under Coverage A and/or any “bodily injury” claims by Claimants under

15   Coverage C because Claimants allege that their injuries and damages were caused by the

16   expected or intended actions of Tonquin.

17           56.      As a result, USIC seeks declaratory judgment as to its duty to defend and

18   indemnify Tonquin based on an “occurrence” in Coverage A to the Policy.
19                       VI. THIRD CAUSE OF ACTION:
           DECLARATORY JUDGMENT – PERSONAL AND ADVERTISING INJURY
20

21           57.      USIC realleges each of the allegations contained in Paragraphs 1 through 56 as

22   if fully set forth herein.

23           58.      Coverage B to the Policy only provides coverage for damages because of

24   “personal and advertising injury,” which is a defined term in the Policy.

25



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 1           59.      There are no allegations of “personal and advertising injury” in the Underlying

 2   Lawsuit as that term is defined in the Policy.

 3           60.      Based on the allegations in the Underlying Lawsuit and the language of the

 4   Policy, there is no coverage afforded to Tonquin under Coverage B because Claimants do not

 5   allege damages because of “personal and advertising injury.”

 6           61.      As a result, USIC seeks declaratory judgment as to its duty to defend and

 7   indemnify Tonquin under Coverage B to the Policy.

 8                            VII. FOURTH CAUSE OF ACTION:
                     DECLARATORY JUDGMENT – UNTIMELY REPORTING
 9                  OF INJURIES UNDER COVERAGE C MEDICAL PAYMENTS
10           62.      USIC realleges each of the allegations contained in Paragraphs 1 through 61 as

11   if fully set forth herein.

12           63.      Coverage C to the Policy only provides coverage for certain medical expenses if

13   such expenses are incurred and reported to USIC within one year of the date of the accident.

14           64.      According to the Underlying Lawsuit, Claimants’ injuries occurred on

15   November 1, 2015.

16           65.      USIC owes no obligation to provide coverage to Tonquin for the claims alleged

17   in the Underlying Lawsuit under Coverage C because no medical expenses were reported to

18   USIC within one year from the date of the November 1, 2015 collision between Kelly and
19   Claimants.

20           66.      As a result, USIC seeks declaratory judgment as to its duty to defend and

21   indemnify Tonquin under Coverage C to the Policy.

22                                    VIII. PRAYER FOR RELIEF
23           USIC prays for the following relief:

24           1.       Declaratory judgment that USIC owes no obligation under the Policy to defend

25   or indemnify any claims as alleged in the Underlying Lawsuit;



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                                                                              601 Union Street, Suite 4100
                                                                              Seattle, Washington 98101-2380
                                                                              (206) 628-6600
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 1           2.       Reasonable attorney fees and costs as allowed by statute and law;

 2           3.       All interest allowed by law; and

 3           4.       Such other and further relief as the Court deems just and equitable.

 4

 5           DATED this 27th day of July, 2018.

 6
                                                           s/ Eliot M. Harris
 7                                                         Eliot M. Harris, WSBA #36590
                                                           WILLIAMS, KASTNER & GIBBS PLLC
 8                                                         601 Union Street, Suite 4100
                                                           Seattle, WA 98101-2380
 9                                                         Phone: (206) 628-6600
                                                           Email: eharris@williamskastner.com
10
                                                           Attorneys for Plaintiff
11                                                         United Specialty Insurance Company

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